      Case 1-16-42657-cec             Doc 415       Filed 10/16/19     Entered 10/16/19 15:38:54




                                                              Adjourned Hearing Date & Time____
                                                              November 19, 2019 at 10:30 a.m.
UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------x
In Re:                                                        Confirmed Chapter 11

DEONARINE PARASRAM D/B/A                                      Case No. 16-42657 (CEC)
VANDI SALES D/B/A
PARASRAM STORE,

                                             Defendants.
----------------------------------------------------------x

RANDY BRISMAN, AS PLAN PROPONENT

                                   Plaintiff,
                 -against-                                    Adv. Pro. No. 18-01112 (CEC)

SURESH N. PERSAUD AND
HAMIRAJ PERSAUD,

                                   Defendants.

----------------------------------------------------------x

                     PLAINTIFF’S REPLY TO OBJECTION TO
                   MOTION FOR SUMMARY JUDGMENT AND TO
                             DISALLOW CLAIMS

        Plaintiff Randy Brisman, the Plan Proponent in the above-referenced Chapter 11 case

(“Plaintiff” or “Brisman”), as and for his reply1 to the memorandum of law objecting to Brisman’s



1 Capitalized terms not defined herein shall have the meaning ascribed to them in Brisman’s Memorandum of Law,
dated October 2, 2019 (the “October 2, 2019 Brisman MOL”)
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                                                         1
     Case 1-16-42657-cec         Doc 415     Filed 10/16/19     Entered 10/16/19 15:38:54




motion for summary judgment and objection to claim of Suresh N. Persuad and Haimraj Persuad,

dated October 2, 2019 (the “Persuad Memorandum”), respectfully states as follows:

A.     The Purported First Loan

       1.      Pages 6-7 of the Persuad Memorandum are a “game changer” since therein Persuad,

discloses, for the first time, that the Three Checks, which supports the alleged principal claim of

$150,000 for the Purported First Loan were actually issued by the Persuads to the Lees and

Bhariam and, most importantly were in no way connected to the Hollis Property Mortgage and

that the mortgage to the Lees has been satisfied. Therefore, there is no underlying debt with respect

to the Purported First Loan and the Hollis Property Mortgage is a mortgage without a debt

instrument. As such, the Purported First Loan should be expunged or the amount of the Purported

First Loan should be reduced to zero.

       2.      In documents filed with this Court including: (1) the Persuad’s Amended Claims;

(2) the Affidavit of Haimraj Persuad, sworn to on August 1, 2019 [Adv. Pro. ECF #21] and

documents produced in discovery, the Persuads have consistently stated that the Three Checks

were the evidence of the debt underlying the Purported First Loan. However, on October 1, 2019,

which is almost two (2) years after the first of the Amended Claims were filed, the Persuads have

changed their rendition of the facts and admitted what Brisman had been asserting all along, which

is that the Three Checks have absolutely nothing to do with the Purported First Loan.

i.     What Actually Happened.

       4.      On or around September 16, 2003, the Debtor purchased the real property known

as and located at 178-08 & 178-110 Jamaica Avenue, Jamaica, New York (Block: 10317, Lot

                                                 2
     Case 1-16-42657-cec            Doc 415       Filed 10/16/19       Entered 10/16/19 15:38:54




10)(“the 178-08 Property”) from J. Lee & K. Lee Realty Co., Inc. The deed for the transfer of the

178-08 Property from J. Lee & K. Lee Realty Co., Inc. to the Debtor (the “Deed”) was recorded

on December 30, 2003. (Attached hereto as Exhibit “A” is a true and correct executed copy of the

duly executed Deed, which was recorded with the City Register on December 30, 2003 under

CRFN 2003000538982).

        5.       As part of the funding for the Debtor’s purchase of the 178-08 Property2, the

Persuads remitted the Three Checks, in the collective amount of $150,000, copies of which are

attached hereto as Exhibit “B”, to J. Lee & K. Lee Realty Co and “rcy Bhairam, as atty” (the

“Persuad $150,000 Principal Loan”).

        6.       To secure repayment of the “Persuad $150,000 Principal Loan, the Debtor executed

and delivered to Suresh N. Persuad & Zoreena Persuad a Mortgage which encumbered the 178-08

Property in the principal sum of $150,000.00 (the “Persuad 178-08 Mortgage”). (Attached hereto

as Exhibit “C” is a true and correct copy of the duly executed Persuad 178-08 Mortgage, which

was recorded with the City Register on December 27, 2007 under CRFN 2003000538983).

        7.       On or about December 12, 2007, Flushing Savings Bank (“FSB”) made a loan to

the Debtor, in the original principal sum of $480,000 (the “FSB Loan”). The FSB Loan was

evidenced by an Adjustable Rate Mortgage Note (the “ FSB 178-08 Note”) dated December 12,

2007, which was duly executed and delivered to FSB by the Debtor. To secure repayment of the

indebtedness evidenced by the FSB 178-08 Note, on or about December 12, 2007, the Debtor




2 According to ACRIS, the purchase price for the 178-08 Property was $450,000.

                                                       3
     Case 1-16-42657-cec        Doc 415     Filed 10/16/19     Entered 10/16/19 15:38:54




further executed and delivered to FSB, a Mortgage (the “FSB 178-08 Mortgage”), which

encumbered the 178-08 Property in the principal sum of $480,000.00. (A true and correct copy of

the duly executed FSB 178-08 Mortgage, which was recorded with the City Register on December

27, 2007 under CRFN 2007000628093 is annexed hereto as Exhibit “D”.

       8.      On or about December 12, 2007, Suresh N. Persuad & Zoreena Persuad executed a

satisfaction of the Persuad 178-08 Mortgage (the Persuad Satisfaction”), and therefore, the Persuad

$150,000 Principal Loan was paid. (A true and correct copy of the duly executed the Persuad

Satisfaction, which was recorded with the City Register on December 12, 2007 under CRFN

2007000628095, is annexed hereto as Exhibit “E”.) Eventually, SDF62 Jamaica Avenue LLC

was assigned the FSB Mortgage and sold the 178-08 Property in a foreclosure action. (Attached

hereto as Exhibit “F” is a copy of the ACRIS Report detailing the history of the 178-08 Property

from January 5, 1990 through the current date, in chronological order.)

       9.      The foregoing conclusively proves that the Three Checks have absolutely nothing

to do with the Purported First Loan and the Persuad Mortgage on the Hollis Property. The

foregoing also conclusively proves that the Debtor’s obligation to the Persuads arising from the

Three Checks was fully satisfied almost twelve (12) years ago.

       10.     Based upon all of the documents filed and the history and repayment of the

obligation created by the Three Checks, the end result is that the Debtor allowed the Persuads to

place a mortgage on the Hollis Property for no consideration. The Persuads have failed to provide

any documentation showing that any money went from them to the Debtor as consideration for the




                                                4
     Case 1-16-42657-cec         Doc 415      Filed 10/16/19     Entered 10/16/19 15:38:54




Persuad lien on the Hollis Property. Therefore, the Persuads hold no secured claim, in any amount,

on the Hollis Property.

       11.     As this Court is well aware, the Persuads filed proofs of claim and sworn statements

with this Court insisting that the Three Checks were the consideration underlying the Purported

First Loan. The Persuads only changed their rendition of the facts as a result of Brisman’s relentless

efforts to undercover the truth as to bona fides of the Purported First Loan. Now, two (2) years

after the Persuads filed the Amended Claim, they make the incredible statement that they “are

actively looking for checks for this property, they have not been able to locate them for now.”

(Persuad Memorandum, page 7). If the Persuads were able to produce the Three Checks, which

were issued three (3) years before the Debtor’s purchase of the Hollis Property, there is no reason

why they are unable to produce a copy of the check[s] evidencing the Purported First Loan. They

have had a sufficient opportunity to produce such check[s] if they existed.

       12.     For two years, the Persuad relied on the Three Checks to evidence the consideration

for the Purported First Loan. At this point in time, the Persuads should be barred from submitting

any further documentation to support the Purported First Loan, if any such documentation even

existed. If the Persuads produce any new documents or checks purporting evidence of payment of

the Purported First Loan, Brisman reserves all of his rights to file further responsive papers.

       12.     If Brisman had not been vigilant in opposing the Persuads’ Amended Claim, the

Persuad’s would have succeeded in perpetrating a fraud on this Court since they would have

received monies to which they are not entitled to the detrimental of the Debtor’s unsecured




                                                  5
     Case 1-16-42657-cec        Doc 415      Filed 10/16/19     Entered 10/16/19 15:38:54




creditors. The remedy, at minimum, for this attempted fraud is the entry of an order expunging the

First Loan or reducing the amount of the First Loan to zero.

B.        The Second Loan

          13.   In pages 8 -9 of the Persuad Memorandum, Persuad claims that the Second Loan

should be subject to equitable tolling. However, this argument should be rejected by this Court

because the Persuads have failed to produce any evidence, whatsoever, that would be necessary to

meet the high standard necessary for the doctrine of equitable tolling to apply.

          14.   In New York, the statute of limitations can be tolled “῾only if a debtor pays the

creditor under circumstances indicting an unequivocal intention to pay the balance.’” Ackerman

v. Ackerman, 908 F.Supp.2d 540, 544 (S.D.N.Y. 2012)(quoting Schmidt v. Polish People's

Republic, 742 F.2d 67, 71 (2d Cir.1984)). “´In order that a part payment shall have the effect of

tolling a time-limitation period, under the statute or pursuant to contract, it must be shown that

there was a payment of a portion of an admitted debt, made and accepted as such, accompanied by

circumstances [that] amount to an absolute and unqualified acknowledgment by the debtor of more

being due, from which a promise may be inferred to pay the remainder’”. Ackerman

v.Ackmerman, 908 F.Supp.2d at 544 (quoting Lew Morris Demolition Co. v. Bd. of Educ., 355

N.E.2d 369, 371 (1976)). Part payment without express acknowledgement of defendant's

indebtedness will not renew the statute of limitations.” Petito v. Piffath, 647 N.E.2d 732, 735

(1994).

          15.   The Persuads’ assertion (which is contained in a memorandum signed by their

counsel, not even a sworn affidavit) that “the Debtor made partial payment even until the eve of

                                                 6
     Case 1-16-42657-cec        Doc 415       Filed 10/16/19   Entered 10/16/19 15:38:54




the bankruptcy filing, but very minute sums, it was petty cash and he acknowledge that he would

continue to make the payment” (Persuad Memorandum, page 8) is insufficient to “permit this

Court to infer that the defendant intended unequivocally to satisfy the debt.” See, Ackerman v.

Ackerman, 908 F.Supp.2d at 545. In sum, the Persuads’ raising the argument of the statute of

limitations being tolled is an example of their “grasping at straws” to somehow salvage an

unsecured claim that is clearly time barred

        16.    Finally, on page 5 of the Persuad Memorandum, Persuad acknowledges that this

Court consolidated the claims objection and the Adversary Proceeding, for procedural purposes

which resolved any issue regarding Brisman’s not filing a separate objection to the Persuad Claims

after filing an objection to the scheduled claim of Persuad [ECF Doc. #241].

       17.     Paragraphs 4-7 of Brisman’s Memorandum of Law, dated October 2, 2019 (the

“October 2, 2019 Brisman MOL”) details the procedural history of the litigation concerning the

objection to Persuad’s claims, as amended. This procedural history shows that the issues

considered by this Court at the September 11, 2019 hearing were raised previously and that the

Persuads have had ample opportunities to respond to these issues. Therefore, the Persuads’

assertion that “[n]ow instead of amending the underlying Complaint or coming up with a new

motion, Brisman adds other reasons for relief and challenges the very underlying lien” is utter

nonsense. Moreover, everything raised in the October 2, 2019 Brisman MOL was the subject of

colloquy at the September 11, 2019 hearing.




                                                 7
     Case 1-16-42657-cec         Doc 415     Filed 10/16/19      Entered 10/16/19 15:38:54




                                       CONCLUSION

       Based on the foregoing, it is respectfully that this Court issuing an order: (1) granting

Plaintiff summary judgment expunging or reducing the Puportedd First Loan; (2) granting Plaintiff

summary judgment expunging, reducing, and/or reclassifying the Second Loan; and (3) granting

Plaintiff such other and further relief as is just and proper under the circumstances.

DATED:       New York, New York
             October 16, 2019
                                              SHAFFERMAN & FELDMAN LLP
                                              Counsel for the Plaintiff
                                              137 Fifth Avenue, 9th Floor
                                              New York, New York 10010
                                              (212) 509-1802

                                              By:___/S/ Joel Shafferman____________
                                                   Joel M. Shafferman (JMS-1055)




                                                  8
